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In the Gnited States Court of Federal Claims

OFFICE OF SPECIAL MASTERS
No. 02-949V
(Not to be published)

OK ROR RR OR RK OR RK OK Rk ok ROR KOR kok kok ok

*
KITA HUGHES, parent *
of M.N.H., a minor, 7
os
Petitioner, 7
* Filed: February 7, 2014
Vv. *
* Decision on Attorney’s
SECRETARY OF HEALTH AND * Fees and Costs
HUMAN SERVICES 7
*
Respondent. *
*
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DECISION! (ATTORNEY FEES AND COSTS)

In this case under the National Vaccine Injury Compensation Program,” I issued a
decision on July 31,2013. On January 23, 2014, petitioner filed a petition for approval of
attorney’s fees in this matter. Petitioner requested a total payment of $10,072.87, representing
attorney’s fees of $6,387.50, and costs of $3,685.37.

On January 30, 2014, respondent’s counsel, Ann Martin, contacted my law clerk by
telephone to report that respondent does not object to the amounts requested. On February 6,
2014, petitioner filed a statement, in accordance with General Order #9, indicating that petitioner
incurred no reimbursable costs in pursuit of her claim.

 

' The undersigned intends to post this decision on the United States Court of Federal Claims’ website, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party (1) that is trade secret or commercial or financial information
and is privileged or confidential, or (2) that are medical files and similar files the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire” decision will be

available to the public. Id.

* The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seg. (2006).
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I find that this petition was brought in good faith and that there existed a reasonable basis
for the claim. Therefore, an award for fees and costs is appropriate, pursuant to 42 U.S.C. §
300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and appropriate.
Accordingly, I hereby award the total $10,072.87 as a lump sum in the form of a check
payable jointly to petitioner and petitioner’s counsel, William Dobreff.

In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in

accordance herewith.
LAE CF —

“George L. Hastings, Jr.
Special Master

IT IS SO ORDERED

 

 

; Pursuant to Vaccine Rule | 1(a), the parties may expedite entry of judgment by filing a joint notice renouncing the
right to seek review.
